                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

DAVID S. ENGLISH,                                      )
                                                       )
       Plaintiff,                                      )
                                                       )
v.                                                     )       Civil No. 3:20-cv-00959
                                                       )       Judge Trauger
ADVANCED AUTO PART STORE #3200,                        )
ET AL.,                                                )
                                                       )
       Defendants.                                     )

                                               ORDER

       On October 15, 2021, the Magistrate Judge issued a Report and Recommendation

(Doc No. 48), to which no timely objections have been filed. The Report and Recommendation

is therefore ACCEPTED and made the findings of fact and conclusions of law of this court. For

the reasons expressed therein, it is hereby ORDERED that the defendants’ Motions to Dismiss

(Doc. Nos. 34, 37) are DENIED.

       This case is hereby RETURNED to the Magistrate Judge for further handling under the

original referral order. The court notes that this case is set for a bench trial before U.S. District

Judge Aleta Trauger on February 15, 2022 (Doc. No. 24).

       It is so ORDERED.

                                                       ________________________________
                                                       ALETA A. TRAUGER
                                                       U.S. District Judge




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